           Case 3:16-cr-00618-CCC Document 38 Filed 08/22/17 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,
     Plaintiff,

       v                                        CRIMINAL NO.      16-618 (CCC)

RUBEN R. VALDES-ROSARIO,
     Defendant.


                           MOTION FOR CHANGE OF PLEA

HONORABLE CARMEN CONSUELO CEREZO
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

       COMES NOW defendant, Rubén R. Valdés-Rosario, represented by the Federal
Public Defender for the District of Puerto Rico and before this Honorable Court
respectfully requests that, a hearing be set in which he may change his plea of not guilty
to one of guilty.
       WHEREFORE, it is respectfully requested that this case be set for Change of Plea
hearing.
       RESPECTFULLY SUBMITTED.
       In San Juan, Puerto Rico, this 22nd day of August, 2017.

                                         ERIC A. VOS, ESQ.
                                         Federal Public Defender
                                         District of Puerto Rico
                                         S/Isabelle C. Oria-Calaf
                                         ISABELLE C. ORIA-CALAF
                                         USDC-PR 226905
                                         A.F.P.D. for Defendant
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           Case 3:16-cr-00618-CCC Document 38 Filed 08/22/17 Page 2 of 2



MOT. FOR CHANGE OF PLEA                                                          PAGE 2
CRIMINAL NO. 16-618 (CCC)




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this date I electronically filed the foregoing motion
  with the Clerk of the Court using the CM/ECF system which will send notification of
  such filing to the parties of record.
         In San Juan, Puerto Rico, this 22nd day of August, 2017.


                                          ERIC A. VOS, ESQ.
                                          Federal Public Defender
                                          District of Puerto Rico

                                          S/Isabelle C. Oria-Calaf
                                          ISABELLE C. ORIA-CALAF
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